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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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12    NEMAN BROTHERS & ASSOC.,                        Case No.: 2:20-cv-11181-CAS-JPR
13
      INC., a California Corporation;
                                                      [PROPOSED] ORDER
14                Plaintiff/Counter-Defendant,
15
                  vs.                                 Date: August 23, 2021
16                                                    Time: 10 a.m.
      INTERFOCUS, INC., a California                  Courtroom 8D
17
      Corporation, et al.,                            Honorable Judge Christina A. Snyder
18               Defendant/Counter-Claimant
19
20
21
            Plaintiff NEMAN BROTHERS & ASSOC., INC. (“Neman Brothers”) has moved
22
     this Court for an order granting summary judgment against Defendant Interfocus, Inc.
23
24
     (“Interfocus”).

25          After full consideration of the evidence submitted by the parties, it appears, and

26   the Court finds that there is no genuine issue as to any material fact and GRANTS the

27   Neman Brothers’ motion as follows:

28


                                                  1
                                    [PROPOSED] JUDGMENT
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 1            1. Plaintiff is entitled to statutory damages against Defendant Interfocus, Inc. in
 2               the amount of $_________________;
 3            2. Plaintiff is entitled to recover its attorney’s fees and costs after the submission
 4               of briefing and declarations.
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 6   IT IS SO ORDERED.
 7
 8   Dated:

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                                                         ________________________
10                                                       Honorable Judge Christina A. Snyder
11                                                       United States District Court

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                                       [PROPOSED] JUDGMENT
